        Case 2:06-cr-00441-DAD Document 265 Filed 11/14/08 Page 1 of 4


ADAM D. FEIN
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             IN THE UNITED STATES DISTRICT COURT FOR THE

                     EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,           )
                                    ) CR. 06-441-GEB
            Plaintiff,              )
                                    )
                                    ) MOTION AND [PROPOSED] ORDER TO
     v.                             ) CONTINUE DEFENDANT’S SENTENCING
                                    ) HEARING
DONALD HAYLES                       )
                                    )
            Defendant.              ) Hon. Garland E. Burrell, Jr.
                                    )


     COMES NOW Defendant, Donald Hayles, by and through counsel,

Adam D. Fein, and moves this Court to continue the sentencing

hearing presently scheduled for November 14, 2008 at 9:00 a.m. to

January 9, 2009 at 9:00 a.m.        In support of this motion,

Defendant states as follows:

     1.     Defendant is scheduled for sentencing on November 14,

2008.

     2.     On November 7, 2008, counsel was unexpectedly appointed

to represent Mr. Bobby James Williams, Jr., in cause number 4:07-

cr-739 RWS, in the federal district court for the Eastern

District of Missouri.      Counsel is the third attorney to represent

Mr. Williams in almost as many months.         Mr. Williams’ case is
        Case 2:06-cr-00441-DAD Document 265 Filed 11/14/08 Page 2 of 4


scheduled for trial on November 24, 2008, and Mr. Williams will

not waive his rights under 18 U.S.C. § 3161 et. seq. to extend

the time in which he might otherwise proceed to trial.            As a

result, his trial will commence as scheduled on November 24,

2008.

     3.     Mr. Williams’ is charged in a multi-defendant narcotics

and money laundering conspiracy.        To prepare for trial, counsel

must review a substantial amount of discovery material, a good

portion of which he has not yet received and will not receive

until tomorrow’s date, November 13, 2004.          In addition, counsel

must locate and interview witness identified by Mr. Williams and

subpoena a variety of documents, some of which are located

outside the state of Missouri.

     4.     At the same time, counsel is preparing for trial in

two additional cases, United states of America v. Markeith

Reynolds, cause number 3:08-cr-30172 DRH, and United States of

America v. Antwain Smith, 4:08-cr-533 CAS, both of which are

scheduled to begin in the first two weeks of December.

     5.     During this same period, counsel must prepare memoranda

and motions in a fair number of additional federal cases pending

in both the Eastern District of Missouri and the Southern

District of Illinois.

     6.     At present, therefore, the demands on counsel’s time

are unexpectedly quite significant.

     7.     For this reason, Defendant, through counsel, files
      Case 2:06-cr-00441-DAD Document 265 Filed 11/14/08 Page 3 of 4


this motion.

     8.   Defendant, through counsel, has discussed this matter

with assistant United states attorney Jill Thomas.         Ms. Thomas

does not object to Defendant’s request.

     WHEREFORE, Defendant respectfully requests this Honorable

Court continue the sentencing hearing presently scheduled for

November 14 2008 at 9:00 a.m. to January 9, 2009 at 9:00 a.m.



                                       Respectfully Submitted,

                                       Adam D. Fein
                                       Attorney for defendant
                                       Donald Hayles


Dated: November 12, 2008               By:/s/ Adam D. Fein
                                       Attorney for defendant
                                          Donald Hayles
         Case 2:06-cr-00441-DAD Document 265 Filed 11/14/08 Page 4 of 4


                                     ORDER

     UPON GOOD CAUSE SHOWN and by stipulation of the parties, it

is hereby ordered that this matter be continued for sentencing

from November 14, 2008 to January 9, 2009 at 9:00 a.m.


     IT IS SO ORDERED.
Dated:     November 13, 2008



                                  GARLAND E. BURRELL, JR.
                                  United States District Judge
